United States District Court

For the Northern District of California

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FILED
MAY 26 2016

SUSAN Y¥. SOONG
CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA

ORACLE AMERICA, INC.,
Plaintiff, No. C 10-03561 WHA

Vv.
SPECIAL VERDICT FORM

GOOGLE INC,,

Defendant.
YOUR ANSWER MUST BE UNANIMOUS.
Has Google shown by a preponderance of the evidence that its use in Android of the
declaring lines of code and their structure, sequence, and organization from Java 2
Standard Edition Version 1.4 and Java 2 Standard Edition Version 5.0 constitutes a “fair
use” under the Copyright Act?

Yes a (finding for Google)

No __ (finding for Oracle)

Dated: May4Z2016. _Catlig fiaataet
PERSON

 

 
